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                                                                                                                                           FORM
UNITED STATES COURT OF INTERNATIONAL TRADE

                                                                                                                             1n ir
 Victona's Secret Direct
                                                                                           Plaintiff,                          - 0 0 5 bb

 UNITED STATES OF AMERICA,
                                                                                        Defendant                         SUMMONS

TO: The Attorney General and the Secretary of the Treasury

  PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28 U.S C §1581 (a) to contest
denial of the protest specified below (and the protests listed in the attached schedule)




                                                                                LEO M. GORDON. CLERK OF THE COURT


                                                                           PROTEST
      Port of           See schedules attached                                 Date Protest      See schedules attached
      Entry                                                                    Filed
      Piotest          See schedules attached                                    Date Protest See schedules attached
      Number                                                                     Denied

      Importer                Victoria's Secret Direct
      Category of
      Merchandise             Shelf-Bra
                                                              ENTRIES INVOLVED IN ABOVE PROTEST
             Entry                            Date of                Date of        Entry                  Date of             Date of
            Numbei                             Entry               Liquidation     Number                   Entry            Liquidation

                                                                     SEE SCHEDULES ATTACHED




      Vg?>
      S-^,1^
      & I*"
     Port Dnector,                                                                Grunfeld. Desideno. Lebowitz. Silverman & Klestadt LLP
     U S Bureau of Customs & Border Protection                                    399 Park Avenue, 25th floor
     301 East Ocean Blvd, Suite 1400                                              New York. New York 10022
     Long Beach, CAQ0731-

                                                                                  212/557-4000
                                                       ; r?
          ofCus'oi-s        V,"i"-ch Acres' i'.',-s Dct' c



  Pagel                                                                                                                                     3051SS
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                                     CONTESTED ADMINISTRATIVE DECISION
                                                   Appraised Value of Merchandise
                                                Statutory Basis                                         Statement of Value


 Appraised



 Protest Claim



                                                     Classification. Rate or Amount
                                                   Assessed                                               Protest Claim
                                     Paragraph                                             Paragraph
         Merchandise              or Item Number                    Rate                or Item Number                       Rate
                                                           2002        2003                                     2002           2003
                                    61091000               174%        17%                   62129000            6 7%          6 6%
 Shelf-Bra                             or                                                       or
                                    61099010               32 4%        32 2%                61142000            109%          109%
                                         01                                                     or
                                    61102020               17 3%           16 9%              611430             28 6%         28 4%
                                       or
                                    61103030               32 4%           32 2%



                                                                   Other
 State specifically the Decision [as Described in 19 U S C §1514(a)] and the Protest Claim




 The issue which was common to all such denied protests Whether the imported merchandise is specifically provided for under the
 claimed tariff provision


Every denied protest included m this civil action was filed by the same above-named importer, or by an authorized
person m his behalf The category of merchandise specified above was involved m each entry of merchandise
included m every such denied protest The issue or issues stated above were common to all such denied protests. All
such protests were filed and denied as prescribed by law All liquidated duties, charges or exactions have been paid,
and were paid at the port of entry unless otherwise shown
                                                                                   /I




                 Date                                                                   Steven P Florsheim


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                                  SCHEDULES OF PROTESTS
 Port of Entry: Los Angeles, CA

2704-04-100664      03/09/2004     06/03/2004    442-1724763-2     02/08/2003        12/19/2003


2704-04-100665      03/09/2004     06/03/2004    442-1723283-2     01/27/2003        12/12/2003


2704-04-100666      03/09/2004     06/03/2004    442-1723291-5     01/27/2003        12/12/2003


2704-04-100668      03/09/2004     06/03/2004    442-1724467-0     02/01/2003        12/12/2003


2704-04-100669      03/09/2004     06/03/2004    442-1724475-3     02/01/2003        12/12/2003


2704-04-100670      03/09/2004    06/03/2004     442-1724587-5     02/01/2003        12/12/2003


2704-04-100672      03/09/2004    06/03/2004     442-1725219-4     02/08/2003        12/19/2003


2704-04-100673      03/09/2004    06/03/2004     442-1725222-8     02/08/2003        12/19/2003


2704-04-100782      03/19/2004    06/03/2004     442-1730187-6     03/13/2003        01/23/2004


2704-04-100783      03/19/2004    06/03/2004     442-1732113-0     03/27/2003        02/06/2004


2704-04-100813      03/25/2004    06/03/2004     442-1729273-7     03/07/2003        01/16/2004
2704-04-100813      03/25/2004    06/03/2004     442-1731325-1     03/20/2003        01/30/2004


2704-04-100981      04/14/2004    06/03/2004     442-1732082-7     03/27/2003        02/06/2004




    Port Director,
    U.S. Bureau of Customs & Border Protection
    301 East Ocean Blvd., Suite 1400
    Long Beach, CA-9£?3i




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                                   SCHEDULES OF PROTESTS



2704-04-100982 |     04/14/2004    08/19/2004   442-1730196-7         03/13/2003      01/23/2004
2704-04-100982       04/14/2004    08/19/2004   442-1730532-3         03/17/2003      01/30/2004


2704-04-101408       06/01/2004    06/22/2004   442-1738076-3         05/08/2003      03/19/2004


2704-04-101409       06/01/2004    06/22/2004   442-1738077-1         05/08/2003      03/19/2004


2704-04-101410       06/01/2004    06/25/2004   442-1737087-1         05/02/2003      03/12/2004


2704-04-101522       06/22/2004    08/11/2004   442-1742624-4         06/12/2003      04/23/2004
2704-04-101522       06/22/2004    08/11/2004   442-1742627-7         06/12/2003      04/23/2004


2704-04-101523       06/22/2004    08/11/2004   442-1740731-9         05/29/2003      04/09/2004
2704-04-101523       06/22/2004    08/11/2004   442-1740732-7         05/29/2003      04/09/2004


2704-04-101598       07/09/2004    09/08/2004   442-1749686-6         07/24/2003      06/04/2004


2704-04-101599       07/09/2004    08/30/2004   442-1748179-3         07/17/2003      05/28/2004


2704-04-101600       07/09/2004    08/25/2004   442-1747433-5         07/10/2003      05/21/2004
2704-04-101600       07/09/2004    08/25/2004   442-1747539-9         07/11/2003      05/21/2004


2704-04-101871       08/20/2004    09/14/2004   442-1750736-5         07/31/2003      06/14/2004


2704-04-101872       08/20/2004    09/14/2004   442-1750735-7         07/31/2003      06/14/2004
2704-04-101872       08/20/2004    09/14/2004   442-1750734-0         07/31/2003      06/14/2004




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                                               SCHEDULES OF PROTESTS
       Port of En trv:      Groveoort. OH
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                      ^SSBWSMlSHS sl
iE£HRMBBJiJJ3^w •BtBaafeaaiKiBijiriBaaraifcg
MJatBBB'gMllilBaiBiSBaamHl
                                                                            a^B]MiiiBi»@3pjii3fii
                                                                            ''•"^WMSSSi'iyjS^ifflHili

  4103-04-100043           03/26/2004          06/30/2004   233-3028386-4        02/24/2003             01/09/2004
  4103-04-100043           03/26/2004          06/30/2004   233-3028404-5        02/24/2003             01/09/2004


  4103-04-100044           03/26/2004          06/30/2004   233-3028412-8        02/24/2003             01/09/2004


  4103-04-100045           03/24/2004          06/30/2004   233-3024421-3        02/28/2003             01/09/2004


  4103-04-100048           03/26/2004          06/14/2004   233-3020988-5        02/11/2003             12/26/2003


  4103-04-100049           03/26/2004          06/14/2004   233-3020131-2        02/10/2003             12/26/2003


  4103-04-100068           05/05/2004          06/30/2004   233-3051193-4        04/01/2003             02/13/2004


  4103-04-100070           05/05/2004          06/30/2004   233-3052942-3        04/03/2003             02/13/2004


  4103-04-100076           05/05/2004          06/30/2004   233-3050183-6        04/02/2003             02/13/2004
  4103-04-100076           05/05/2004          06/30/2004   233-3072977-5        05/07/2003             03/19/2004
  4103-04-100076           05/05/2004          06/30/2004   233-3083026-8        05/23/2003             04/02/2004


  4103-04-100077           05/05/2004          07/01/2004   233-3054100-6        04/04/2003             02/13/2004
  4103-04-100077           05/05/2004          07/01/2004   233-3059190-2        04/14/2003             02/27/2004
  4103-04-100077           05/05/2004          07/01/2004   233-3065473-4        04/25/2003             03/05/2004
  4103-04-100077           05/05/2004          07/01/2004   233-3071456-1        05/05/2003             03/19/2004




       Port Director,
       U.S. Bureau of Customs & Border Protection
       6431 Alum Creek Drive, Suite A
       Groveport, OH 43125




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                                   SCHEDULES OF PROTESTS



4103-04-100129      05/14/2004     06/30/2004   233-3056061-8         04/08/2003      02/20/2004
4103-04-100129      05/14/2004     06/30/2004   233-3059285-0         04/15/2003      02/27/2004


4103-04-100137      06/01/2004     06/30/2004   233-3064199-6         04/22/2003      03/05/2004
4103-04-100137      06/01/2004     06/30/2004   233-3064196-2     04/22/2003          03/05/2004
4103-04-100137      06/01/2004     06/30/2004   233-3081990-7         05/22/2003      04/02/2004


4103-04-100138      06/01/2004     06/30/2004   233-3061600-6     04/24/2003          03/05/2004
4103-04-100138      06/01/2004     06/30/2004   233-3079902-6     05/20/2003          04/02/2004


4103-04-100139      06/01/2004     06/30/2004   233-3065892-5     04/24/2003          03/05/2004
4103-04-100139      06/01/2004     06/30/2004   233-3065886-7     04/24/2003          03/05/2004


4103-04-100141      06/01/2004     06/30/2004   233-3072644-1     05/06/2003          03/19/2004
4103-04-100141      06/01/2004     06/30/2004   233-3081993-1     05/22/2003          04/02/2004


4103-04-100142      06/01/2004     06/30/2004   233-3069481-3     04/30/2003          03/12/2004
4103-04-100142      06/01/2004     06/30/2004   233-3072968-4     05/07/2003          03/19/2004
4103-04-100142      06/01/2004     06/30/2004   233-3072962-7     05/07/2003          03/19/2004


4103-04-100149      06/22/2004     08/16/2004   233-3085891-3     05/30/2003          04/09/2004
4103-04-100149      06/22/2004     08/16/2004   233-3098126-9     06/19/2003          04/30/2004
4103-04-100149      06/22/2004     08/16/2004   233-3099693-7     06/25/2003          05/07/2004
4103-04-100149      06/22/2004     08/16/2004   233-3106486-7     07/03/2003          05/14/2004


4103-04-100150      06/22/2004     08/16/2004   233-3076965-6     05/28/2003          04/09/2004
4103-04-100150      06/22/2004    08/16/2004    233-3084722-1     05/28/2003          04/09/2004
4103-04-100150      06/22/2004     08/16/2004   233-3090041-8     06/05/2003          04/16/2004
4103-04-100150      06/22/2004    08/16/2004    233-3095052-0     06/17/2003          04/30/2004
4103-04-100150      06/22/2004    08/16/2004    233-3103698-0     06/30/2003          05/14/2004


4103-04-100151      06/22/2004    08/16/2004    233-3090045-9     06/05/2003          04/16/2004
4103-04-100151      06/22/2004    08/16/2004    233-3113200-3     07/17/2003          05/28/2004


4103-04-100152      06/22/2004    08/16/2004    233-3093013-4     06/11/2003          04/23/2004
4103-04-100152      06/22/2004    08/16/2004    233-3093010-0     06/12/2003          04/23/2004
4103-04-100152      06/22/2004    08/16/2004    233-3094299-8     06/17/2003          04/30/2004
4103-04-100152      06/22/2004    08/16/2004    233-3094295-6     06/17/2003          04/30/2004
4103-04-100152      06/22/2004    08/16/2004    233-3104900-9     07/01/2003          05/14/2004


4103-04-100153      06/22/2004    08/16/2004    233-3088507-2     06/03/2003          04/16/2004
4103-04-100153      06/22/2004    08/16/2004    233-3096227-7     06/25/2003          05/07/2004




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                                   SCHEDULES OF PROTESTS


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4103-04-100157      06/23/2004     08/16/2004   233-3084218-0             05/27/2003      04/09/2004
4103-04-100157      06/23/2004     08/16/2004   233-3084205-7             05/28/2003      04/09/2004
4103-04-100157      06/23/2004     08/16/2004   233-3094749-2             06/17/2003      04/30/2004
4103-04-100157      06/23/2004     08/16/2004   233-3096609-6             06/17/2003      04/30/2004
4103-04-100157      06/23/2004     08/16/2004   233-3097244-1             06/18/2003      04/30/2004


4103-04-100158      06/22/2004     08/16/2004   233-3086630-4             05/30/2003      04/09/2004
4103-04-100158      06/22/2004     08/16/2004   233-3096617-9             06/17/2003      04/30/2004
4103-04-100158      06/22/2004     08/16/2004   233-3101038-1             06/25/2003      05/07/2004


4103-04-100159      06/22/2004     08/16/2004   233-3088532-0             06/03/2003      04/16/2004
4103-04-100159      06/22/2004     08/16/2004   233-3088518-9             06/03/2003      04/16/2004




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                               SCHEDULES OF PROTESTS
Port of Entry: Newark, NJ




  Port Director,
  U.S. Bureau of Customs & Border Protection
  1100 Raymond Blvd, room402
  Newark, NJ 07102




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